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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

J. LEE,

                Plaintiff,
                                                                              No. 1:17-cv-01230-JB-LF
v.

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO, and
GARNETT S. STOKES, in her official capacity
as the President of the University of New Mexico,

                Defendants.

                      JOINT STIPULATION REGARDING DEADLINE
                          FOR DEFENDANTS TO FILE ANSWER

          COME NOW Plaintiff, J. Lee, and Defendants, The Board of Regents of the University

of New Mexico (“UNM”) and Garnett S. Stokes, by and through their respective counsel of

record, and hereby stipulate to March 1, 2019, as the deadline for Defendants to answer the

Complaint for Injunctive and Declaratory Relief and Damages [Doc. 1-1].

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       Approved via email – February 22, 2019              /s/ Quentin Smith
By: ________________________________                By: ________________________________
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